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                    UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF NEW YORK
__________________________________________

UNITED STATES OF AMERICA,

                                   Plaintiff
                                                        DECISION and ORDER
-vs-
                                                        13-CR-6012

IRIS DIAZ

                                   Defendant.

__________________________________________



       Siragusa, J. This case was referred by text order of the undersigned, entered on

January 16, 2013, to Magistrate Judge Jonathan W. Feldman pursuant to 28 U.S.C. §

636(b)(1)(A)-(B), ECF No. 35. On May 9, 2013, Defendant filed an omnibus motion, ECF

No. 65, seeking inter suppression of the result of an identification procedure used by law

enforcement on May 10, 2012. On June 21, 2013, Judge Feldman issued an Order

resolving all matters except for Defendant’s application to suppress the identification

procedure at issue. That procedure involved Defendant’s identification by a confidential

informant from a photo array. On July 10, 2013, Judge Feldman conducted a suppression

hearing to determine the admissibility of the identification procedure. At the conclusion of

the hearing, Judge Feldman issued an oral Report and Recommendation (“R&R”)

recommending that Defendant’s motion to suppress the identification be denied. On July

11, 2013, Magistrate Judge Feldman filed a written R&R, ECF No. 83, confirming his oral

determination made in court the day before. Defendant timely filed objections to the R&R
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on September 13, 20131, ECF No. 104, arguing that the photo array utilized by law

enforcement on May 10, 2012, from which the confidential informant made the

identification, was unduly suggestive. Defendant also objected to Judge Feldman’s June

21, 2013 Decision and Order (“D&O”), ECF No. 75,2 denying Defendant’s request for

earlier disclosure of the confidential informant. More specifically, Defendant objects to

Judge Feldman’s D&O that informant disclosure be made no earlier than two weeks prior

to trial or pretrial conference whichever comes first.

       As to Defendant’s objections to Judge Feldman’s findings and recommendation on

his motion to suppress the identification procedure, pursuant to 28 U.S.C. § 636(b)(1), this

Court must make a de novo determination of those portions of the R&R to which objections

have been made. Upon a de novo review of the R&R, including a review of the transcript

of the suppression hearing held on July 10, 2013 and the photo array at issue, as well as

Defendant’s objections, this Court accepts the proposed findings and recommendation.

       With respect to Defendant’s objections as to Judge Feldman’s D&O denying earlier

informant disclosure, pursuant to 28 U.S.C. § 636(b)(1)(A), this Court must determine

whether Judge Feldman’s determination was clearly erroneous or contrary to law. Upon

a consideration of the D&O, and after considering Defendant's objections, the Court finds

that Judge Feldman’s D&O denying Defendant's request for a informant disclosure was

neither clearly erroneous nor contrary to law

       1
      By text order entered on July 26, 2013 , ECF No. 89 and then by letter order entered on
September 4, ECF No. 100, this court extended Defendant’s time to file objections to Judge
Feldman’s R&R to September 13, 2013.
       2
        With consent of the government, the Court on September 25, 2013 extended, nun pro
tunc, Defendant’s time to file objections to Judge Feldman’s June 21, 2013 D & O to September
13, 2013.

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        Accordingly, for the reasons set forth in Magistrate Judge Feldman’s R&R, ECF

No. 83, in which he confirmed his oral determination of July 10, 2013, Defendant’s

application to suppress the May 10, 2012 identification procedure is denied.

        Additionally, as indicated above, the Court finds that Judge Feldman’s D&O

denying Defendant's request for further informant disclosure is neither clearly erroneous

nor contrary to law

        IT IS SO ORDERED.

Dated: Rochester, New York
       October 21, 2013

                           ENTER:
                                         /s/ Charles J. Siragusa
                                         CHARLES J. SIRAGUSA
                                         United States District Judge




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